Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 1 of 37 PageID #: 1482




              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE


ASTRAZENECA
PHARMACEUTICALS LP, et al.,

                  Plaintiffs,

         v.                              Civ. No. 1:23-cv-931-CFC

XAVIER BECERRA, in his official
capacity as SECRETARY OF THE
DEPARTMENT OF HEALTH AND
HUMAN SERVICES, et al.,

                  Defendants.



                DEFENDANTS’ REPLY IN SUPPORT OF
                 MOTION FOR SUMMARY JUDGMENT


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Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 2 of 37 PageID #: 1483




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                                     ii
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 3 of 37 PageID #: 1484




                                              TABLE OF CONTENTS

INTRODUCTION ..................................................................................................................1
ARGUMENT ............................................................................................................................2
I.        Plaintiffs lack Article III standing to bring their APA claims................................. 2
          A.        Plaintiffs cannot manufacture injury based on hypothetical future
                    events. ..................................................................................................................3
          B.        Plaintiffs cannot establish causation or redressability based on
                    future guidance. ..................................................................................................8
II.       Congress expressly precluded judicial review of Plaintiffs’ APA claims............... 9
III.      Plaintiffs’ APA claims are meritless. .........................................................................15
          A.        CMS’s approach to multiple forms of the same drug is consistent
                    with the IRA. ....................................................................................................15
          B.        CMS properly explained its approach. ..........................................................18
          C.        CMS’s bona fide marketing standard is consistent with the IRA.............19
          D.        CMS properly explained its reasoning for its approach to
                    marketing. ..........................................................................................................22
IV.       Plaintiffs’ due process claim fails because participation in the
          Negotiation Program is voluntary. ............................................................................24
CONCLUSION ......................................................................................................................27




                                                                    iii
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 4 of 37 PageID #: 1485




                                         TABLE OF AUTHORITIES

CASES
Am. Mfrs. Mut. Ins. Co. v. Sullivan,
 526 U.S. 40 (1999) ...............................................................................................................24
American Clinical Laboratory Association v. Azar,
 931 F.3d 1195 (D.C. Cir. 2019) .................................................................................. 11, 12
American Hospital Association v. Azar,
 964 F.3d 1230 (D.C. Cir. 2020) .................................................................................. 12, 13
American Hospital Association v. Becerra,
 596 U.S. 724 (2022) .............................................................................................................14
Asgrow Seed Co. v. Winterboer,
 513 U.S. 179 (1995) ...................................................................................................... 21, 22
Baker Cnty. Med. Servs., Inc. v. U.S. Att’y Gen.,
  763 F.3d 1274 (11th Cir. 2014) ..........................................................................................26
Baxter Healthcare Corp. v. Weeks,
  643 F. Supp. 2d 111 (D.D.C. 2009) ........................................................................... 11, 12
Carbon Sequestration Council v. EPA,
  787 F.3d 1129 (D.C. Cir. 2015) ...........................................................................................6
Carr v. United States,
  560 U.S. 438 (2010) .............................................................................................................21
Christopher v. SmithKline Beecham Corp.,
  567 U.S. 142 (2012) .............................................................................................................23
Citizens to Pres. Overton Park, Inc. v. Volpe,
  401 U.S. 402 (1971) ...................................................................................................... 18, 20
Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) .................................................................................................. 3, 4, 5, 8
Clemens v. ExecuPharm Inc.,
  48 F.4th 146 (3d Cir. 2022) ..................................................................................................3



                                                                 iv
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 5 of 37 PageID #: 1486




Coyne-Delany Co. v. Cap. Dev. Bd.,
  616 F.2d 341 (7th Cir. 1980) ..............................................................................................27
Cummings v. Premier Rehab Keller, PLLC,
  596 U.S. 212 (2022) .............................................................................................................26
Dayton Area Chamber of Commerce v. Becerra,
 No. 3:23-cv-156, --- F. Supp. 3d ---,
 2023 WL 6378423 (S.D. Ohio Sept. 29, 2023) ............................................. 2, 24, 25, 26
DCH Reg’l Med. Ctr. v. Azar,
 925 F.3d 503 (D.C. Cir. 2019) ....................................................................... 12, 13, 14, 15
Env’t Def. v. Duke Energy Corp.,
 549 U.S. 561 (2007) .............................................................................................................21
FCC v. Prometheus Radio Project,
 592 U.S. 414 (2021) .............................................................................................................18
Fla. Health Scis. Ctr. v. Sec’y of HHS,
  830 F.3d 515 (D.C. Cir. 2016) ......................................................................... 9, 11, 13, 15
Franklin Mem’l Hosp. v. Harvey,
  575 F.3d 121 (1st Cir. 2009)...............................................................................................25
Franklin v. Massachusetts,
  505 U.S. 788 (1992) ...............................................................................................................9
Fund for Animals v. Kempthorne,
  472 F.3d 872 (D.C. Cir. 2006) ...........................................................................................22
Garelick v. Sullivan,
 987 F.2d 913 (2d Cir. 1993) ........................................................................................ 24, 25
Haaland v. Brackeen,
 599 U.S. 255 (2023) ...............................................................................................................9
Idaho Health Care Ass’n v. Sullivan,
  716 F. Supp. 464 (D. Idaho 1989) ....................................................................................25
In re Schering Plough Corp.,
  678 F.3d 235 (3d Cir. 2012) .................................................................................................7




                                                                  v
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 6 of 37 PageID #: 1487




Ipsen Biopharmaceuticals, Inc. v. Azar,
  No. 16-cv-2372, 2020 WL 3402344 (D.D.C. June 19, 2020)........................................18
Kaiser Found. Health Plan, Inc. v. Burwell,
  147 F. Supp. 3d 897 (N.D. Cal. 2015) ..............................................................................25
Knapp Med. Ctr. v. Burwell,
  192 F. Supp. 3d 129 (D.D.C. 2016), aff’d sub nom.
  Knapp Med. Ctr. v. Hargan, 875 F.3d 1125 (D.C. Cir. 2017) .................................... 13, 14
Michigan Bell Telephone Co. v. Engler,
 257 F.3d 587 (6th Cir. 2001) ..............................................................................................24
Miller v. FCC,
 66 F.3d 1140 (11th Cir. 1995) ..............................................................................................8
Minn. Ass’n of Health Care Facilities, Inc. v. Minn. Dep’t of Pub. Welfare,
 742 F.2d 442 (8th Cir. 1984) ..............................................................................................26
Nat’l Shooting Sports Found. v. Att’y Gen. of N.J.,
 80 F.4th 215 (3d Cir. 2023) ..................................................................................................5
Nw. Airlines, Inc. v. FAA,
 14 F.3d 64 (D.C. Cir. 1994)......................................................................................... 15, 20
Nyunt v. Chairman, Broad. Bd. of Governors,
 589 F.3d 445 (D.C. Cir. 2009) ...........................................................................................15
Panzarella v. Navient Sols., Inc.,
  37 F.4th 867 (3d Cir. 2022) ................................................................................................22
Parker v. Governor of Pa.,
  No. 20-3518, 2021 WL 5492803 (3d Cir. Nov. 23, 2021) ............................................... 3
Perkins v. Lukens Steel Co.,
  310 U.S. 113 (1940) .............................................................................................................27
Preiser v. Newkirk,
  422 U.S. 395 (1975) ...............................................................................................................9
Reilly v. Ceridian Corp.,
  664 F.3d 38 (3d Cir. 2011) ...................................................................................................4




                                                                 vi
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 7 of 37 PageID #: 1488




Rhone-Poulenc Surfactants & Specialties, L.P. v. Comm’r of Int’l Revenue,
  249 F.3d 175 (3d Cir. 2001) .................................................................................................3
Sabre, Inc. v. Dep’t of Transp.,
  429 F.3d 1113 (D.C. Cir. 2005) ...........................................................................................5
SBC Inc. v. FCC,
  414 F.3d 486 (3d Cir. 2005) ...............................................................................................18
Scranton Quincy Hosp. Co. v. Azar,
  514 F. Supp. 3d 249 (D.D.C. 2021) ..................................................................................12
Shah v. Azar,
  920 F.3d 987 (5th Cir. 2019) ..............................................................................................26
Shanahan v. City of Chi.,
  82 F.3d 776 (7th Cir. 1996) ................................................................................................14
St. Francis Hosp. Ctr. v. Heckler,
  714 F.2d 872 (7th Cir. 1983) ..............................................................................................25
Tex. All. for Home Care Servs. v. Sebelius,
  681 F.3d 402 (D.C. Cir. 2012) ......................................................................... 9, 10, 13, 15
Tex. All. for Home Care Servs. v. Sebelius,
  811 F. Supp. 2d 76 (D.D.C. 2011) ....................................................................................13
Transitional Hosps. Corp. of La. v. Shalala,
  222 F.3d 1019 (D.C. Cir. 2000) .........................................................................................21
TransUnion LLC v. Ramirez,
  594 U.S. 413 (2021) .......................................................................................................... 3, 9
Waugaman v. City of Greensburg,
 841 F. App’x 429 (3d Cir. 2021) ................................................................................. 14, 23
Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv.,
 139 S. Ct. 361 (2018) ...........................................................................................................22
Whitney v. Heckler,
 780 F.2d 963 (11th Cir. 1986) ............................................................................................26




                                                                vii
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 8 of 37 PageID #: 1489




STATUTES
21 U.S.C. § 355.........................................................................................................................16
42 U.S.C. § 256b ......................................................................................................................20
42 U.S.C. § 1320f .......................................................................................................................6
42 U.S.C. § 1320f-1 ...........................................................................................................passim
42 U.S.C. § 1320f-5 .......................................................................................................... 16, 17
42 U.S.C. § 1320f-7 ..................................................................................................1, 9, 13, 14
REGULATIONS
21 C.F.R. § 314.3 ................................................................................................................ 5, 16
OTHER AUTHORITIES

FDA, NDA Approval for Calquence Tablets (Aug. 4, 2022),
 https://perma.cc/XEB4-EVVC.........................................................................................6
FDA, NDA Approval for Lynparza Tablets (Aug. 17, 2017),
 https://perma.cc/H5UJ-C2PR ...........................................................................................6
Medicare Drug Price Negotiation Program: Revised Guidance (June 30, 2023),
 https://perma.cc/K6QBC3MM .................................................................................passim




                                                                  viii
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 9 of 37 PageID #: 1490




                                 INTRODUCTION
      Plaintiffs’ opposition reveals this lawsuit for what it is: a policy dispute that

Plaintiffs have recast into a request for an advisory opinion. But Plaintiffs cannot

overcome either their lack of Article III standing or Congress’s decision to explicitly
preclude judicial review over the agency decisions they challenge. Even if they could,

Plaintiffs are wrong to think that Congress created two loopholes so big they would

swallow much of the Negotiation Program.
      First, Plaintiffs have not carried their burden to establish Article III standing on

either of their Administrative Procedure Act (“APA”) claims. Plaintiffs do not—and

cannot—dispute that the two challenged aspects of the Revised Guidance had no effect
on the selection of Plaintiffs’ drug Farxiga for the 2026 program cycle. Instead,

Plaintiffs complain of self-inflicted injuries based on speculative assumptions about

how possible future guidance might cause them some future harm. Article III does not
countenance Plaintiffs’ request for an advisory opinion to wield against hypothetical

future guidance.

      Second, Plaintiffs’ APA claims are straightforwardly precluded by the plain text
of the Inflation Reduction Act (“IRA”). Congress provided that “[t]here shall be no

administrative or judicial review” of certain agency decisions, including the “selection

of drugs” for negotiation, the “determination of negotiation-eligible drugs,” and the
“determination of qualifying single source drugs.” 42 U.S.C. § 1320f-7. Yet Plaintiffs

challenge the methods by which the Centers for Medicare & Medicaid Services (“CMS”)

makes the very determinations over which Congress expressly precluded review. Under
the plain text of the statute and settled precedent interpreting similar preclusion


                                           1
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 10 of 37 PageID #: 1491




provisions—which are common in the Medicare context—this Court lacks jurisdiction
over Plaintiffs’ APA claims.

      In any event, Plaintiffs’ APA claims fail on the merits. Both challenges are

premised on imagined loopholes that contradict clear statutory language. Plaintiffs’
interpretation of “qualifying single source drug” would allow manufacturers to end-run

the Negotiation Program based on how they choose to vary their drug products and

seek Food and Drug Administration (“FDA”) approval. And Plaintiffs’ definition of
“is … marketed” would render that phrase almost meaningless.

      Finally, Plaintiffs’ due process claim is meritless for reasons explained in Dayton

Area Chamber of Commerce v. Becerra, No. 3:23-cv-156, --- F. Supp. 3d ---, 2023 WL
6378423 (S.D. Ohio Sept. 29, 2023) (Chamber). In short, “[t]he law established” around

the country “is clear: participation in Medicare, no matter how vital it may be to a

business model, is a completely voluntary choice.” Id. at *11. There is thus no
deprivation of a protected property interest in violation of the Due Process Clause,

“because pharmaceutical manufacturers who do not wish to participate in the Program

have the ability—practical or not—to opt out of Medicare entirely.” Id.
      The Court should dismiss Plaintiffs’ APA claims for lack of jurisdiction and enter

judgment for Defendants on Plaintiffs’ due process claim.

                                   ARGUMENT

I.    Plaintiffs lack Article III standing to bring their APA claims.

      Plaintiffs do not dispute that “the program guidance that Plaintiffs challenge

governs only the first negotiation cycle.” Defs.’ MSJ at 2, ECF No. 21-1; accord Decl.
of Cheri Rice ¶ 12, ECF No. 21-2 (“Rice Decl.”). Nor do Plaintiffs dispute that, “even


                                           2
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 11 of 37 PageID #: 1492




if CMS had made both of Plaintiffs’ preferred interpretive choices” in that guidance,

“that would have had no effect on the inclusion of AstraZeneca’s drug Farxiga among

the drugs CMS selected for negotiation.” Defs.’ MSJ at 2; accord Rice Decl. ¶ 8. Those

undisputed propositions are fatal to Plaintiffs’ standing to bring their APA claims. In
response, Plaintiffs now turn to speculation about possible future injuries caused by

possible future guidance. But Article III prohibits advisory opinions premised on such

a “hypothetical” state of facts. TransUnion LLC v. Ramirez, 594 U.S. 413, 424 (2021); see
also, e.g., Rhone-Poulenc Surfactants & Specialties, L.P. v. Comm’r of Int’l Revenue, 249 F.3d 175,

182 (3d Cir. 2001) (refusing to give advisory opinion on hypothetical factual scenario).

   A.        Plaintiffs cannot manufacture injury based on hypothetical future
             events.
        An injury-in-fact must be “‘certainly impending,” not merely “a ‘possible future

injury.’” Clemens v. ExecuPharm Inc., 48 F.4th 146, 152–53 (3d Cir. 2022) (citation

omitted). But Plaintiffs’ purported injuries are all based on a series of unsupported
assumptions about hypothetical future events.

        1.     Plaintiffs first assert that the Revised Guidance’s definition of “qualifying

single source drug” will decrease Plaintiffs’ incentives to “innovate new uses for
Farxiga’s single-ingredient active moiety.” Pls.’ Opp. at 7, ECF No. 58. But Plaintiffs

cannot “manufacture standing merely by inflicting harm on themselves based on their

fears of hypothetical future harm that is not certainly impending.” Clapper v. Amnesty
Int’l USA, 568 U.S. 398, 416 (2013); see also, e.g., Parker v. Governor of Pa., No. 20-3518,

2021 WL 5492803, at *2–3 (3d Cir. Nov. 23, 2021).




                                                3
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 12 of 37 PageID #: 1493




       Any choice by Plaintiffs to not seek “new uses” for their existing drug is premised

on speculation that, if they develop any new formulation, that formulation will be

subject to the same maximum fair price (“MFP”) negotiated for Farxiga. Pls.’ Opp. at

7. But Plaintiffs fail to establish the likelihood of either link in this “speculative chain
of future events.” Reilly v. Ceridian Corp., 664 F.3d 38, 46 (3d Cir. 2011); see id. at 43

(“[O]ne cannot describe how [plaintiffs] will be injured without beginning the

explanation with the word ‘if.’” (citation omitted)). First, Plaintiffs have not established
that they will imminently develop another formulation with Farxiga’s active moiety. In

fact, Plaintiffs explicitly concede that they are not undertaking any clinical trials that could

have such a result. See Pls.’ Opp. at 8; Decl. of Jim Ader ¶ 23, ECF No. 60 (“Ader
Decl.”). To resuscitate their hypothetical injury, Plaintiffs refer vaguely to “ongoing

drug development efforts” involving Farxiga’s active moiety. See Pls.’ Opp. at 8. But a

hypothetical impediment to undefined, non-clinical “development efforts,” id., is not a

“certainly impending” injury, Clapper, 568 U.S. at 409–10. Indeed, Plaintiffs themselves

emphasize that “[i]t can take decades … to shepherd a single potential new therapy

through clinical trials,” and only 0.02% of compounds that enter preclinical testing
ultimately achieve FDA approval. See Ader Decl. ¶ 7; see also Pls.’ Opp. at 2 (“Even

when a drug shows early promise in clinical trials, the rigorous drug approval process

means very few of these research efforts result in a new drug or indication.”).

       Second, even crediting Plaintiffs’ speculation that they may one day obtain FDA

approval for some hypothetical new formulation with Farxiga’s active moiety, Plaintiffs’

theory of financial disincentive rests entirely on their unsupported assumption that

Farxiga will be a selected drug with an MFP at that (unknown) time. But that is


                                               4
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 13 of 37 PageID #: 1494




especially unlikely given Plaintiffs’ assertion that “17 generic manufacturers” are already

tentatively approved “to market generic versions of FARXIGA.” Pls.’ Opp. at 9; see

also 42 U.S.C. § 1320f-1(e)(1)(A)(iii) (a drug is not a “qualifying single source drug” if a

generic version of that drug “is … marketed”); but see 21 C.F.R. § 314.3(b) (a tentative
approval does not become a full approval unless and “until FDA issues an approval

letter after any necessary additional review of the NDA or ANDA”). If Farxiga were

de-selected due to the marketing of an approved generic competitor, as Plaintiffs
predict, then Plaintiffs would have no basis to fear that any speculative new drug

product would be subject to a negotiated MFP for Farxiga.

       2.     Plaintiffs similarly assert that the Revised Guidance will have unspecified
effects on Plaintiffs’ “decision-making about other drugs” besides Farxiga. Pls.’ Opp.

at 11. But such “vague,” “generalized” assertions fail to establish a cognizable injury.

Nat’l Shooting Sports Found. v. Att’y Gen. of N.J., 80 F.4th 215, 220 (3d Cir. 2023)

(declarations asserting unspecified, vague chilling effect did not establish injury).

Plaintiffs’ assertions that they have “been forced to make decisions now based on the

agency policies currently in place,” Ader Decl. ¶¶ 31–32; see Pls.’ Opp. at 11, lack any
specificity as to what “decision-making” has been affected, or how.

       Moreover, Plaintiffs’ future “decision-making” about other drugs is, again,

necessarily premised on a “highly attenuated chain” of hypothetical future events.

Clapper, 568 U.S. at 410. First, Plaintiffs cannot establish that any particular drug will

be selected in future program cycles based on speculation about what future guidance

may provide. See infra pp. 8–9; Defs.’ MSJ at 18; see also Sabre, Inc. v. Dep’t of Transp., 429

F.3d 1113, 1117 (D.C. Cir. 2005) (plaintiff had standing where agency “indicate[d] a


                                              5
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 14 of 37 PageID #: 1495




very high probability that it [would] act against a practice” which the plaintiff had shown

detailed evidence of its desire to pursue); Carbon Sequestration Council v. EPA, 787 F.3d

1129, 1141–42 (D.C. Cir. 2015) (contrasting the plaintiff’s “speculative concern that

EPA may choose to regulate its business at some point in the indefinite future” against
Sabre).

          Second, whether or not future guidance is similar to current guidance, Plaintiffs’

drugs may be selected even under Plaintiffs’ interpretation of the IRA. For example,
Plaintiffs complain that the Revised Guidance would render the new “tablet form” of

Plaintiffs’ drug Lynparza eligible for selection immediately, because the former “capsule

form” of Lynparza is already eligible for selection. See Pls.’ Opp. at 12–13. But the
tablet form of Lynparza would meet the temporal requirement for selection for the next

program cycle even under Plaintiffs’ theory. See FDA, NDA Approval for Lynparza

Tablets (Aug. 17, 2017), https://perma.cc/H5UJ-C2PR (approving tablet form on

August 17, 2017); 42 U.S.C. § 1320f(b)(3) (setting next selected drug publication date

as February 1, 2025—more than seven years after FDA approved Lynparza’s tablet

form). Plaintiffs similarly fail to establish that Calquence will be selected before August

4, 2029—i.e., seven years after FDA approved Calquence’s tablet form. See FDA, NDA

Approval for Calquence Tablets (Aug. 4, 2022), https://perma.cc/XEB4-EVVC; 42

U.S.C. § 1320f-1(e)(1)(A)(ii).
          3.    Plaintiffs separately assert that the Revised Guidance’s bona fide

marketing standard will “subject” Farxiga “to generic competition and mandatory




                                              6
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 15 of 37 PageID #: 1496




pricing” when generics for Farxiga enter the marketplace in the future. Pls.’ Opp. at 9. 1

But to establish that the bona fide marketing standard will harm Plaintiffs under this

theory, Plaintiffs must establish that there will be generics for Farxiga that will be

marketed at only a de minimis level—i.e., generics that are “marketed” in some non-zero
amount, but that do not rise to the level of “bona fide marketing.” See Defs.’ MSJ at

17; 42 U.S.C. § 1320f-1(e)(1)(A)(iii). Plaintiffs themselves confirm how unlikely that is,

predicting that as many as seventeen generics for Farxiga may be entering the market in
2025 and 2026. See Pls.’ Opp. at 8; Ader Decl. ¶ 27. Thus—even assuming (as Plaintiffs

do) that those generics obtain FDA approval and enter the market—Plaintiffs would

have to establish that all seventeen of these generics would be marketed at only a de minimis
level in order for Plaintiffs’ subtle disagreement with CMS to matter. Plaintiffs cannot

do so.

         Finally, Plaintiffs speculate that alleged “delay[]” in Prescription Drug Event
(“PDE”) data will result in CMS delaying de-selection of Farxiga following entry of a

bona-fide-marketed generic. Pls.’ Opp. at 9. But Defendants have already explained

that CMS will also consider average manufacturer price (“AMP”) data and “‘multiple’

other sources” to bridge any delays in PDE data. Defs.’ MSJ at 42 (citing Medicare Drug

Price Negotiation Program: Revised Guidance at 77, 165, 170 (June 30, 2023),

https://perma.cc/K6QBC3MM (“Revised Guidance”). Plaintiffs make no attempt to


         Because “‘standing is not dispensed in gross,’ a plaintiff who raises multiple
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causes of action ‘must demonstrate standing for each claim he seeks to press.”’ In re
Schering Plough Corp., 678 F.3d 235, 245 (3d Cir. 2012) (citation omitted). Plaintiffs’
assertions of injury related to the bona fide marketing standard thus cannot establish
standing related to the definition of “qualifying single source drug,” or vice versa.

                                             7
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 16 of 37 PageID #: 1497




establish that these additional data sources are “delayed,” instead merely speculating—

without any evidence—that Farxiga’s de-selection would be delayed upon entry of a

bona-fide-marketed generic. Moreover, Plaintiffs can also only speculate that any such

hypothetical delay would injure them. Even if Farxiga’s hypothetical de-selection were
delayed, such delay may not affect prices of Farxiga depending on when the delay

occurred. See Revised Guidance at 92, 166.

   B.      Plaintiffs cannot establish causation or redressability based on future
           guidance.
        Plaintiffs’ summary treatment of causation and redressability ignores that the

Revised Guidance applies only to program year 2026 and thus cannot cause any injury

in future program cycles. See Defs.’ MSJ at 18. And Plaintiffs’ “self-inflicted injuries”

based on speculative assumptions of what future guidance might look like “are not fairly

traceable” to any actual, existing agency action. Clapper, 568 U.S. at 418.

        Plaintiffs now confirm that their APA claims are premised on the unexplained
and unsupported assumption that future guidance will be identical to the current

guidance. See Pls.’ Opp. at 13–14; Ader Decl. ¶¶ 31–32. Yet even if that assumption

holds, it would still not be the current guidance that injures Plaintiffs—it would be some
(currently hypothetical) future guidance. Of course, if Plaintiffs suffer some actual or

imminent injury in future negotiation cycles, they can then challenge that future

guidance. But Plaintiffs cannot challenge the current guidance—which has no legal
effect on future negotiation cycles, see Revised Guidance at 1–2; Rice Decl. ¶ 12—in

the hope of obtaining a preemptive court order to wield against hypothetical future

guidance, see, e.g., Miller v. FCC, 66 F.3d 1140, 1145 (11th Cir. 1995).


                                             8
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 17 of 37 PageID #: 1498




       For similar reasons, an order setting aside the Revised Guidance would not

redress Plaintiffs’ alleged injuries. Plaintiffs seek “certainty” about the definition of

“qualifying single source drug” in future guidance. Pls.’ Opp. at 16. But an order setting

aside the Revised Guidance for program year 2026 would set aside only the Revised
Guidance for program year 2026. And any persuasive effect of such an order is

irrelevant to Article III standing. After all, “[r]edressability requires that the court be

able to afford relief through the exercise of its power, not through the persuasive or even
awe-inspiring effect of the opinion explaining the exercise of its power.” Haaland v.

Brackeen, 599 U.S. 255, 294 (2023) (quoting Franklin v. Massachusetts, 505 U.S. 788, 825

(1992)). Plaintiffs’ desire for “certainty” about currently non-existent guidance does
not entitle them to an advisory opinion. See TransUnion LLC, 594 U.S. at 422–23; Preiser

v. Newkirk, 422 U.S. 395, 401 (1975).

II.    Congress expressly precluded judicial review of Plaintiffs’ APA claims.
       The IRA precludes review of CMS’s “selection of drugs” for negotiation under

section 1320f-1(b), CMS’s “determination of negotiation-eligible drugs” under section

1320f-1(d), and CMS’s “determination of qualifying single source drugs” under section

1320f-1(e). 42 U.S.C. § 1320f-7(2). This plain language expressly precludes Plaintiffs’

challenges to the methods by which CMS makes those selections and determinations,

which are necessarily challenges to CMS’s selections and determinations themselves.
Moreover, the methods of selection are clearly “indispensable,” “‘integral’ to,” and

“‘inextricably intertwined’ with” the selections themselves, and are therefore also

expressly precluded on those grounds. Fla. Health Scis. Ctr. v. Sec’y of HHS, 830 F.3d

515, 519 (D.C. Cir. 2016) (quoting Tex. All. for Home Care Servs. v. Sebelius, 681 F.3d 402,


                                             9
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 18 of 37 PageID #: 1499




409–11 (D.C. Cir. 2012)). None of Plaintiffs’ efforts to evade this conclusion find

footing.

      A.     Plaintiffs first seek to evade the IRA’s plain language by claiming that they

do not challenge CMS’s “identification of particular drugs.” Pls.’ Opp. at 19. It is hard
to see how that is so. Plaintiffs challenge the definition of qualifying single source drug

and the bona fide marketing standard because they may require the selection of Plaintiffs’

drugs under sections 1320f-1(b), (d), and (e). Indeed, the crux of Plaintiffs’ standing
theory is that these methods for selecting drugs will harm Plaintiffs by mandating the

selection of Plaintiffs’ drugs (as drugs selected for negotiation, negotiation-eligible

drugs, and qualifying single source drugs) in the future. See, e.g., Pls.’ Opp. at 6–8
(alleging injury because any future formulation with Farxiga’s active moiety would be

selected “as the same Qualifying Single Source Drug as FARXIGA”); id. at 8–10

(alleging injury because “CMS might improperly keep FARXIGA on the selected drug

list”); id. at 11 (alleging injury because “AstraZeneca will very likely have products on

[the] list” for future program cycles). Plaintiffs therefore plainly challenge CMS’s

methods because the methods allegedly involve CMS’s future determination of
particular drugs.

      Plaintiffs attempt to skirt this conclusion by arguing that the challenged methods

and the precluded determinations are distinct, simply because the challenged methods

are “relevant” to other provisions of the Negotiation Program besides the selection of

drugs for negotiation, the determination of negotiation-eligible drugs, and the

determination of qualifying single source drugs. Pls.’ Opp. at 19–20. But the mere fact

that the terms “qualifying single source drug” and “marketed” appear in other


                                            10
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 19 of 37 PageID #: 1500




provisions of the IRA—and thus may have bearing on other aspects of the Program—

does not allow Plaintiffs to evade an express preclusion provision. To the contrary,

courts have held that similar preclusion provisions cover decisions that are

“‘indispensable’ or ‘integral’ to, or ‘inextricably intertwined’ with, the unreviewable
agency action,” even if those decisions may have bearing on some other elements of an

agency’s activity. Fla. Health Scis. Ctr., 830 F.3d at 519 (citation omitted); see Defs.’ MSJ

at 25 (collecting cases). And courts consider a decision to be “expressly” precluded
from review where it is “‘inextricably intertwined’ with[] the unreviewable agency

action.” Id. 2

       Plaintiffs’ own cited cases embrace this standard. In both American Clinical
Laboratory Association v. Azar, 931 F.3d 1195 (D.C. Cir. 2019), and Baxter Healthcare Corp.

v. Weeks, 643 F. Supp. 2d 111 (D.D.C. 2009), the challenged agency determinations

arose under legal obligations that were genuinely distinct from the unreviewable agency
actions.   In American Clinical, the challenged determination was not “inextricably

intertwined with” the unreviewable agency action because it arose under a “distinct”

statutory provision that imposed “new obligations” and even included a discrete notice-

and-comment requirement. 931 F.3d at 1205–07. The unreviewable action therefore

“[did] not subsume the” challenged determination. Id. at 1206 (emphasis added). The


       2
        Plaintiffs assert that finding preclusion here would transform the preclusion
provision into a “sweeping bar to judicial review of any aspects of the” Negotiation
Program. Pls.’ Opp. at 20. Not so. Among other reasons, Defendants have expressly
disclaimed any application of the preclusion provision to Plaintiffs’ due process
challenge. See Defs.’ MSJ at 22. And to date, the government has not raised the
preclusion bar in any of the six other lawsuits challenging this program in which the
government has filed briefing. See id. at 13 (collecting cases).

                                             11
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 20 of 37 PageID #: 1501




D.C. Circuit expressly distinguished the case from Florida Health, Texas Alliance, and

Mercy Hospital, which—like here—did not involve distinct legal obligations. See id. at

1206–07. Similarly, in Baxter Healthcare, the challenged determination was made under

a separate provision with its own detailed obligations, distinct from the unreviewable
agency action. 643 F. Supp. 2d at 115.

       Here, the challenged methods do not arise under a legal framework distinct from

CMS’s selection of drugs, determination of negotiation-eligible drugs, or determination
of qualifying single source drugs.       Rather, CMS’s selection of drugs necessarily

“subsume[s]” the methods by which CMS selects those drugs. American Clinical, 931

F.3d at 1206. Plaintiffs thus seek to “do[] exactly what the plaintiffs in Florida Health
and DCH Regional did: complain[] about the method that was used” to make a

determination that Congress exempted from review. Scranton Quincy Hosp. Co. v. Azar,

514 F. Supp. 3d 249, 262 (D.D.C. 2021).

       Plaintiffs also mischaracterize the holding of American Hospital Association v. Azar,

964 F.3d 1230 (D.C. Cir. 2020), as broadly allowing a plaintiff to bypass a preclusion

provision when the plaintiff alleges any violation of statutory authority, see Pls.’ Opp. at
22. Plaintiffs’ reading of American Hospital would swallow the ultra vires doctrine, which

(at most) allows claims to proceed past a preclusion provision only if—among other

requirements—a plaintiff alleges an “extreme” statutory violation. DCH Reg’l Med. Ctr.

v. Azar, 925 F.3d 503, 509 (D.C. Cir. 2019); see also infra pp. 14–15 (discussing ultra vires

requirements). Rather, American Hospital dealt with a unique preclusion provision

barring only certain statutorily authorized “methods,” which rendered it “effectively

coextensive” with the plaintiff’s statutory-authorization claim. 964 F.3d at 1238–39.


                                             12
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 21 of 37 PageID #: 1502




Thus, to determine whether that provision barred review of the challenged

determination, the court was forced to first determine whether the challenged

determination was statutorily authorized. See id. Unlike that provision, the IRA’s

preclusion provision does not preclude review only of certain statutorily authorized
methods. The IRA precludes all review of CMS’s selection of drugs under sections

1320f-1(b), (d), and (e)—which necessarily includes the methods by which CMS selects

drugs under those same sections.
       Plaintiffs fail to distinguish the many cases, see Defs.’ MSJ at 24–25, in which a

preclusion provision barred a decision that was “‘indispensable’ or ‘integral’ to, or

‘inextricably intertwined’ with, the unreviewable agency action,” Fla. Health Scis. Ctr.,
830 F.3d at 519 (citation omitted). For example, Plaintiffs do not even attempt to

reconcile their position with the D.C. Circuit’s conclusion that a “distinction between

methodology and estimates would eviscerate the statutory bar” against review, “for

almost any challenge to an estimate could be recast as a challenge to its underlying

methodology.” DCH Reg’l, 925 F.3d at 506. Plaintiffs argue only that these cases

involved “pure arbitrary-and-capricious challenge[s].” Pls.’ Opp. at 23. Plaintiffs do
not explain why the particular type of APA claim matters for preclusion purposes. The

IRA’s preclusion provision bars all “administrative or judicial review” of the specified

actions, not just review of arbitrary-and-capricious challenges. 42 U.S.C. § 1320f-7. In

any event, Plaintiffs are wrong: many of Defendants’ cited cases involved challenges to

the agencies’ statutory authority, not simply arbitrary-and-capricious challenges. See,

e.g., Tex. All. for Home Care Servs. v. Sebelius, 811 F. Supp. 2d 76, 98 (D.D.C. 2011) (ultra

vires violation), aff’d, 681 F.3d 402 (D.C. Cir. 2012); Knapp Med. Ctr. v. Burwell, 192 F.


                                             13
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 22 of 37 PageID #: 1503




Supp. 3d 129, 133 (D.D.C. 2016) (statutory violation), aff’d sub nom. Knapp Med. Ctr. v.

Hargan, 875 F.3d 1125 (D.C. Cir. 2017). The reasoning of those cases applies here too.

And of course, Plaintiffs here also bring arbitrary-and-capricious claims.

       B.     Plaintiffs’ resort to the ultra vires doctrine fares no better. Having failed

to present this claim in their complaints or opening papers, Plaintiffs seek to raise a new

ultra vires claim for the first time in their opposition to Defendants’ summary-judgment

motion. But even accepting that the APA “authorize[s]” an ultra vires claim, Pls.’ Opp.
at 25, that does not relieve Plaintiffs from properly pleading it, see, e.g., Waugaman v. City

of Greensburg, 841 F. App’x 429, 433 (3d Cir. 2021) (“[A] ‘plaintiff may not amend his

complaint through arguments in his brief in opposition to a motion for summary
judgment.’” (quoting Shanahan v. City of Chi., 82 F.3d 776, 781 (7th Cir. 1996))).

       Regardless, even if they amended their complaint (again), Plaintiffs cannot meet

the requirements for an ultra vires claim. See Defs.’ MSJ at 26 n.6. First, it is plainly
not the case that “the statutory preclusion of review is implied rather than express.”

DCH Reg’l, 925 F.3d at 509. The IRA expressly precludes judicial review of CMS’s

selection and determination of drugs under sections 1320f-1(b), (d), and (e), and the

methods by which CMS does so. See 42 U.S.C. § 1320f-7(2). American Hospital

Association v. Becerra, 596 U.S. 724, 733 (2022), does not establish otherwise. There, the

court simply confirmed that a provision precluding review of one payment method did
not implicitly bar review of an entirely separate and statutorily distinct payment method.

See id. And, as explained, courts consider preclusion provisions to “express[ly]” bar

review of determinations that are—as here—“‘indispensable,’” “‘integral’ to,” and




                                             14
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 23 of 37 PageID #: 1504




“‘inextricably intertwined’ with” the precluded determinations. DCH Reg’l, 925 F.3d at

509, 519; see also Fla. Health Scis. Ctr., 830 F.3d at 519; Tex. All., 681 F.3d at 404.

       Second, Plaintiffs’ claims (even if they had merit) do not establish “‘extreme’

agency error.” DCH Reg’l, 925 F.3d at 509. Such extreme error is implicated only when
“the agency plainly acts … contrary to a specific prohibition in the statute that is clear and

mandatory.’” Id. (emphasis added); see also Nyunt v. Chairman, Broad. Bd. of Governors, 589

F.3d 445, 449 (D.C. Cir. 2009) (Kavanaugh, J.) (an ultra vires claim is “a Hail Mary
Pass” that “rarely succeeds”). Plaintiffs identify no such prohibition. See, e.g., Fla. Health

Scis. Ctr., 830 F.3d at 522–23 (rejecting plaintiff’s attempt “to ‘couch[]’ this type of

reasonableness challenge ‘in terms of the agency’s exceeding its statutorily-defined
authority” (quoting Nw. Airlines, Inc. v. FAA, 14 F.3d 64, 73 (D.C. Cir. 1994))). Nor

does a claim implicate extreme error simply because the underlying statute and

implementing regulations may be “historic,” Pls.’ Opp. at 26—a label that has no

bearing on whether the agency committed an “obvious violation of a clear statutory

command,” DCH Reg’l, 925 F.3d at 509, and that would create a new and undefined

substantive canon out of thin air.

III.   Plaintiffs’ APA claims are meritless.

       Even setting aside the threshold jurisdictional defects barring Plaintiffs’ APA

challenges, those claims would also fail on the merits.
       A.     CMS’s approach to multiple forms of the same drug is consistent
              with the IRA.
       The Revised Guidance interprets the IRA’s plain text to require consideration of

all “dosage forms and strengths” of a drug with the same active moiety. 42 U.S.C.



                                             15
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 24 of 37 PageID #: 1505




§ 1320f-1(d)(3)(B); id. § 1320f-5(a)(2).       By contrast, Plaintiffs’ interpretation of

“qualifying single source drug” would require CMS to consider all “dosage forms and

strengths” of a drug with the same active moiety, except when the different dosage form

or strength was approved under a different NDA. See Pls.’ Opp. at 30. There is no
basis for this atextual exception.

       As Defendants explained, manufacturers may, in certain instances, choose whether

to submit either a new NDA or a supplemental NDA (“sNDA”) for a new drug product
with the same active moiety as a drug product approved under an existing NDA. See

Defs.’ MSJ at 15; 21 C.F.R. § 314.3(b) (defining “drug product” as “a finished dosage

form, e.g., tablet, capsule, or solution, that contains a drug substance, generally, but not
necessarily, in association with one or more other ingredients”). As a result, FDA often

approves multiple drug products under the same NDA. See, e.g., Pls.’ Opp., Ex. 1, FDA,

Guidance for Industry: Submitting Separate Marketing Applications and Clinical Data for Purposes

of Assessing User Fees 3–4 (2004) (describing circumstances for submitting different drug

products under a single NDA), ECF No. 59-1. Plaintiffs resist this conclusion, citing

21 U.S.C. § 355(b)(4) to suggest that manufacturers lack any choice in whether to submit
an NDA or an sNDA. 3 See Pls.’ Opp. at 7 n.3. But section 355(b)(4) restricts a

manufacturer’s ability to amend or supplement an NDA for a “different drug,” not a

“different drug product,” and only for a certain subset of NDAs (those submitted under

section 355(b)(2)). In fact, a manufacturer may, in certain instances, choose whether to

pursue approval for a new drug product under a new NDA or an sNDA. And it would

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         Plaintiffs’ citation to “21 U.S.C. § 355(c)(4)” is presumably intended to be
section 355(b)(4). Pls.’ Opp. at 7 n.3. Section 355(c)(4) has no relevance here.

                                              16
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 25 of 37 PageID #: 1506




make little sense for Congress to subject the Negotiation Program to the strategic

whims of the manufacturers themselves, who could attempt to evade the Program by

submitting new applications rather than supplemental applications.

      Plaintiffs’ own brief neatly illustrates the nonsensical result of Plaintiffs’
interpretation. Plaintiffs complain that the original “capsule form” and the new “tablet

form” of their drug Lynparza—which contain the same active moiety but which were

approved under distinct NDAs—would unfairly count as the same “qualifying single
source drug” under the Revised Guidance. Pls.’ Opp. at 12; see also id. at 13 (same

regarding Calquence). But the IRA expressly directs CMS to consider “data that is

aggregated across dosage forms and strengths of the drug, including new formulations
of the drug”—such as a new “tablet” dosage form, Pls.’ Opp. at 12—when determining

whether a qualifying single source drug is negotiation-eligible, see 42 U.S.C. § 1320f-

1(d)(3)(B). And the IRA also expressly directs CMS to “apply the [MFP] across

different strengths and dosage forms of a selected drug and not based on the specific

formulation or package size or package type of such drug.”            Id. § 1320f-5(a)(2).

Plaintiffs’ attempt to artificially exclude a new “dosage form[]” of a drug just because it
was approved pursuant to a new NDA is contrary to these explicit statutory mandates.

Indeed, Plaintiffs’ suggestion that the capsule and the tablet forms of Lynparza (and of

Calquence) should not be treated as the same “qualifying single source drug” lays bare

Plaintiffs’ desire to game the IRA and get out from under the choices Congress made.

The IRA would be significantly hobbled if a manufacturer could avoid selection

eligibility by shifting sales from an eligible drug product to a new tablet form of the

same drug, contrary to congressional intent.


                                            17
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 26 of 37 PageID #: 1507




       Plaintiffs’ resort to a series of attenuated cross-references, see Pls.’ Opp. at 29,

fails to overcome the IRA’s express language. The IRA cross-references the definition

of a “covered part D drug” in section 1395w-102(e) merely to ensure that a qualifying

single source drug is a drug eligible for reimbursement under Medicare Part D. The
definition of a “covered part D drug,” in turn, cross-references the general Medicaid

definition of a “covered outpatient drug” in section 1396r-8(k)(2), which unsurprisingly

requires that a drug be FDA-approved to be eligible for Medicaid reimbursement.
These definitions do not mean, explicitly or implicitly, that FDA approval creates a

distinct, new “covered outpatient drug.” Indeed, contrary to Plaintiffs’ characterization,

see Pls.’ Opp. at 29, a district court in Ipsen Biopharmaceuticals, Inc. v. Azar recently held
that a new NDA alone does not suffice to establish a “new ‘covered outpatient drug’”

for Medicaid-rebate purposes. No. 16-cv-2372, 2020 WL 3402344, at *10 (D.D.C. June

19, 2020) (agreeing with government’s position that “a new NDA (absent changes to

the drug’s dosage form or strength) is necessary, but not always sufficient, to establish new

base date information for Medicaid rebate purposes”).

       B.     CMS properly explained its approach.
       Plaintiffs fare no better with their arbitrary-and-capricious challenge. “Judicial

review under [the arbitrary-and-capricious standard] is deferential,” FCC v. Prometheus

Radio Project, 592 U.S. 414, 423 (2021), and “presume[s] the validity of agency action,”

SBC Inc. v. FCC, 414 F.3d 486, 496 (3d Cir. 2005) (citation omitted); see also Citizens to

Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402 (1971).

       In the face of that deferential standard, Plaintiffs repeat generalized complaints

that CMS’s definition of “qualifying single source drug” might disincentivize


                                             18
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 27 of 37 PageID #: 1508




innovation.   But Plaintiffs are entirely silent on Defendants’ lengthy responsive

discussion of “product hopping.” See Defs.’ MSJ at 31–32. Plaintiffs ignore that

manufacturers can improperly maintain high prices by introducing inconsequential

changes to their drugs and shifting patients to the new versions, and that such product
hopping can itself reduce innovation. See id. at 32. Plaintiffs ignore that considering all

dosage forms and strengths of a drug—consistent with the statutory language—

decreases incentives to product hop. See id. at 31. And Plaintiffs’ failure to refute any
desire to engage in product hopping—at the expense of Medicare beneficiaries and

American taxpayers—is telling.

      Plaintiffs assert that CMS “failed to consider an important aspect of the
problem,” Pls.’ Opp. at 34, but they have not identified a single issue that CMS did not

already explicitly address in the Revised Guidance. Plaintiffs fail to engage with any of

CMS’s explanations. For example, Plaintiffs attach a comment on the Initial Guidance

regarding alleged hindrance to innovation for “ultra-rare uses of existing treatments.”

Pls.’ Ex. 9 at 64, ECF No. 59-1; see Pls.’ Opp. at 33. But Plaintiffs do not engage at all

with Defendants’ explanation—as laid out in the Revised Guidance—that CMS will
take medical impact into account in negotiating prices. See Defs.’ MSJ at 32; see also

Revised Guidance at 12, 147–51. Plaintiffs’ generalized assertions regarding CMS’s

definition of “qualifying single source drug” fall far short of overcoming the deferential

arbitrary-and-capricious standard.

       C.     CMS’s bona fide marketing standard is consistent with the IRA.

       The Revised Guidance explains that a generic drug or biosimilar “is …

marketed” for the purposes of the IRA, 42 U.S.C. § 1320f-1(e)(1)(A)(iii), (B)(iii), “when


                                            19
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 28 of 37 PageID #: 1509




the totality of the circumstances … reveals that the manufacturer of that drug or

product is engaging in bona fide marketing of that drug or product.” Revised Guidance

at 102 (emphasis added). This common-sense approach confirms that a generic drug

or biosimilar is subject to “meaningful competition” before a selected drug is removed
from the Negotiation Program. Id. at 74. It therefore addresses circumstances in which

brand-name manufacturers enter into “market-limiting agreement[s]” with a generic

manufacturer, under which the generic manufacturer “agrees to limit production or
distribution of the generic version of the drug, such that only a nominal quantity of

product is allowed to enter the market.” Id. Plaintiffs attempt to avoid the requirement

that “market[ing]” be meaningful, and not merely de minimis, by creating a loophole in
the IRA. None of Plaintiffs’ arguments override the IRA’s clear statutory language.

      First, even Plaintiffs’ own purported “ordinary meaning” of the term

“marketed,” see Pls.’ Opp. at 37, is consistent with the Revised Guidance. Nothing in

that definition—to “expose[] … for sale in a market”—forecloses CMS from

considering whether a generic drug was meaningfully “expose[d] … for sale in a market.” 4

Id. at 38. On its face, the phrase “is … marketed” reflects actual and ongoing

commercial activity—not a mere token presence. This is especially so given Congress’s

express delegation of authority to CMS to “determine[],” through unspecified

procedures, whether a generic drug “is marketed.” 42 U.S.C. § 1320f-1(c)(1)(B); see


      4
          In an analogous context, Plaintiffs themselves recently argued that the term
“offer” in the 340B statute, 42 U.S.C. § 256b(a)(1), necessarily implies “bona fide.” See
Br. for Appellee AstraZeneca Pharma. LP at 23, 43, No. 22-1676 (3d Cir. July 21, 2022);
see also Br. for Appellee Novartis Pharma. Corp. at 39, No. 21-5299 (D.C. Cir. June 8,
2022) (“Of course, manufacturers’ offers must still be ‘meaningful’ and ‘bona fide[.]’”).

                                           20
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 29 of 37 PageID #: 1510




Defs.’ MSJ at 34–35. Plaintiffs offer no response to case law explaining that the phrase

“as determined by the Secretary” is an “express delegation of authority” to exercise

“discretion.” Transitional Hosps. Corp. of La. v. Shalala, 222 F.3d 1019, 1025 (D.C. Cir.

2000) (citation omitted); Defs.’ MSJ at 24–35. If Congress had truly intended CMS to
conduct a check-the-box inquiry, Congress could have directed CMS to consider a

database such as the FDA’s National Drug Code Directory, as Congress did elsewhere

in the IRA in 42 U.S.C. § 1395w-114b(g)(1)(C)(ii). See Defs.’ MSJ at 35. Plaintiffs’ sole
argument against CMS’s authority to conduct ongoing monitoring is that Congress

“could have” used stronger language. Pls.’ Opp. at 41. But Plaintiffs ignore Congress’s

intentional choice of verb tense. See Defs.’ MSJ at 36 (citing Carr v. United States, 560
U.S. 438, 448 (2010)). The IRA specifically refers to a drug that “is marketed,” not a

drug that “was marketed” or “has been marketed.” See 42 U.S.C. § 1320f-1(e)(1)

(emphasis added). Congress was not required to belabor the point.

      Plaintiffs’ citations to other authorities have no bearing on the IRA. Plaintiffs

do not dispute that their cited authorities did not arise “in a context where de minimis

marketing would plausibly be a concern.” Pls.’ Opp. at 38 (quoting Defs.’ MSJ at 38).
Despite this concession, Plaintiffs argue that Congress would have “added qualifying

language” if Congress intended to impose a different definition. Id. at 39. But when

two uses of a term are concededly not comparable, Congress has no need to “add[]

qualifying language.” Id.; see Env’t Def. v. Duke Energy Corp., 549 U.S. 561, 574 (2007).

      Having previously relied heavily on Asgrow Seed Co. v. Winterboer, 513 U.S. 179,

186 (1995), Plaintiffs now reduce discussion of that case to a footnote, see Pls.’ Opp. at

39 n.13—conflating the Revised Guidance’s “bona fide marketing” standard with the


                                            21
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 30 of 37 PageID #: 1511




“extensive” marketing standard rejected in Asgrow. But while “bona fide marketing”

merely excludes de minimis activities, the “extensive” marketing standard rejected in

Asgrow required “extensive or coordinated selling activities.” Id. at 187. Asgrow did not

consider whether “marketing” encompassed de minimis marketing, because there was no
dispute in that case that the defendants were engaged in a bona fide effort to sell the

product at issue. And contrary to Plaintiffs’ assertion that it is “irrelevant” that Asgrow

involved interpretation of an entirely different statute, see Pls.’ Opp. at 39 n.13, the
Supreme Court expressly relied on the specific context of “the law at issue” in

conducting its statutory interpretation, see Asgrow, 513 U.S. at 187.

       Ultimately, Plaintiffs do not even dispute that the imagined loophole at the center
of their “interpretation of the IRA ‘would flout Congress’s purpose.’” See Pls.’ Opp. at

41. Plaintiffs fail to establish that the bona fide marketing standard contradicts the IRA,

especially given that Congress did not intend to enact a toothless “marketing” standard.

See Panzarella v. Navient Sols., Inc., 37 F.4th 867, 872–73 (3d Cir. 2022) (“As ‘[s]tatutory

language cannot be construed in a vacuum,’ we turn next to [the term’s] context.”

(quoting Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv., 139 S. Ct. 361, 367 (2018))). “That

[P]laintiffs interpret the [marketing requirement] to be an empty gesture is yet another

indication that their submission is erroneous.” Fund for Animals v. Kempthorne, 472 F.3d

872, 877–78 (D.C. Cir. 2006) (Kavanaugh, J.).
       D.     CMS properly explained its reasoning for its approach to marketing.

       Plaintiffs do not dispute that CMS’s reliance on multiple sources of data thwarts

any claim that the bona fide marketing standard is arbitrary and capricious based on

alleged delay in PDE data. See Pls.’ Opp. at 43. Plaintiffs instead pivot to a new


                                            22
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 31 of 37 PageID #: 1512




argument: that CMS’s reliance on multiple sources of data fails to provide “fair

warning” of the relevant conduct. Id. (citing Christopher v. SmithKline Beecham Corp., 567

U.S. 142, 156 (2012)). But a plaintiff cannot raise new claims for the first time in

summary-judgment briefing. See Waugaman, 841 F. App’x at 433. Plaintiffs have not
pled an arbitrary-and-capricious claim regarding alleged failure to provide fair warning,

and thus cannot raise such a claim here. See id.

       In any event, the Revised Guidance provides more-than-sufficient warning about
the conduct at issue. The mere fact that CMS leaves open the possibility “to also use

other available data and informational sources” to determine whether a generic drug is

subject to bona fide marketing does not leave Plaintiffs with any doubt as to the purpose
for which that data is used. See Revised Guidance at 170. Indeed, CMS’s reservation

of such authority benefits Plaintiffs, as it allows CMS to gather a greater variety of

evidence regarding marketing.

       Finally, Plaintiffs’ complaint that the bona fide marketing standard is “illogical

and fundamentally unfair”—that is, because it requires more than de minimis or sham

marketing before de-selection of a drug from the Negotiation Program—rings hollow.
Pls.’ Opp. at 44. Indeed, Plaintiffs make no response to the Revised Guidance’s lengthy

discussion of sham agreements that result in generic-drug manufacturers offering only

de minimis competition. See Defs.’ MSJ at 43 (citing Revised Guidance at 74). Nor,

again, do Plaintiffs disclaim their intent to engage in such practices.




                                            23
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 32 of 37 PageID #: 1513




IV.    Plaintiffs’ due process claim fails because participation in the Negotiation
       Program is voluntary.
       Disposing of Plaintiffs’ APA claims leaves only their due process claim. That
argument was correctly rejected in Chamber, which heeded the essential first step in any

procedural-due-process analysis: asking whether there has been a deprivation of a

protected property interest. See Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 59 (1999).
Yet the IRA does not “legally compel[]” participation and therefore cannot effect a

deprivation of any protected property interest. Garelick v. Sullivan, 987 F.2d 913, 916

(2d Cir. 1993).
       Notably, Plaintiffs do not dispute that there are several ways for them to “opt

out” of the Negotiation Program. Chamber, 2023 WL 6378423, at *11; see Pls.’ Opp. at

48–49.    Both the IRA’s text and CMS’s implementing guidance confirm that
“manufacturers who do not wish to participate in the Program have the ability” to

withdraw. Chamber, 2023 WL 6378423, at *11; see also Revised Guidance at 34. That is

fatal to Plaintiffs’ due process challenge. Because there is “no constitutional right (or
requirement) to engage in business with the government, the consequences of that

participation cannot be considered a constitutional violation.” Chamber, 2023 WL

6378423, at *11.
       Plaintiffs attempt to muddy the waters by arguing that Chamber is irrelevant

because it “turned on” Michigan Bell Telephone Co. v. Engler, 257 F.3d 587 (6th Cir. 2001).

Pls.’ Opp. at 45. To the contrary, Chamber expressly turned on the fact that the IRA’s
Negotiation Program and Medicare are “voluntary” programs such that they cannot

effect a constitutional deprivation. See Chamber, 2023 WL 6378423, at *10–11. Like

Plaintiffs here, the Chamber plaintiffs argued that the IRA “strongarm[ed]”

                                             24
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 33 of 37 PageID #: 1514




manufacturers into participation in the Negotiation Program. See id. at *10. That the
plaintiffs attempted to fit that theory into the “confiscatory” due process framework of

Michigan Bell is irrelevant. See id. at *11. Ultimately, the plaintiffs in Chamber could not

bring a due process challenge because they “are not legally compelled to participate in
the Program—or in Medicare generally.” Id. So too here.

       Likewise, it is irrelevant that some of Defendants’ cited cases analyzing the

voluntariness of participation in Medicare did so in the context of takings claims. See
Pls.’ Opp. at 47. The Takings Clause of the Fifth Amendment, like the Due Process

Clause of the Fifth Amendment, applies only where there is legal compulsion to surrender

property. See Garelick, 987 F.2d at 916; Franklin Mem’l Hosp. v. Harvey, 575 F.3d 121,
129 (1st Cir. 2009). Whether a program is voluntary is thus dispositive under both the

Takings Clause and the Due Process Clause. See, e.g., Kaiser Found. Health Plan, Inc. v.

Burwell, 147 F. Supp. 3d 897, 911–12 (N.D. Cal. 2015); Idaho Health Care Ass’n v. Sullivan,
716 F. Supp. 464, 472 (D. Idaho 1989).

       Moreover, economic or other practical “hardship is not equivalent to legal

compulsion for purposes of” a Fifth Amendment analysis. Garelick, 987 F.2d at 917;
see also St. Francis Hosp. Ctr. v. Heckler, 714 F.2d 872, 875 (7th Cir. 1983) (the “fact that

practicalities may in some cases dictate participation does not make participation

involuntary”). Even where “business realities” create “strong financial inducement to
participate”—such as, for example, when Medicaid provides the vast majority of a

nursing home’s revenue—courts have emphasized that the decision to participate in the

program “is nonetheless voluntary.” Minn. Ass’n of Health Care Facilities, Inc. v. Minn.
Dep’t of Pub. Welfare, 742 F.2d 442, 446 (8th Cir. 1984); Whitney v. Heckler, 780 F.2d 963,


                                             25
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 34 of 37 PageID #: 1515




972 n.12 (11th Cir. 1986) (“[T]he fact that Medicare patients comprise a substantial
percentage of [plaintiff’s] practices does not render their participation ‘involuntary.’”).

So the amount of Plaintiffs’ “gross U.S. revenue” obtained through Medicare is

irrelevant to the voluntariness analysis. Pls.’ Opp. at 49. As the court correctly
recognized in Chamber, “participation in Medicare, no matter how vital it may be to a

business model, is a completely voluntary choice.”            2023 WL 6378423, at *11

(discussing cases); see also Baker Cnty. Med. Servs., Inc. v. U.S. Att’y Gen., 763 F.3d 1274,
1280 (11th Cir. 2014).

       Notably, Plaintiffs fail to identify a single case supporting the premise that

participation in Medicare is involuntary based on the program’s lucrative nature. See
generally Pls.’ Opp. at 48–50. For good reason. Congress enacted Medicare, and

imposed conditions on participation, pursuant to its Spending Clause powers. “Unlike

ordinary legislation, which imposes congressional policy on regulated parties
involuntarily, Spending Clause legislation operates based on consent: in return for

federal funds, the [recipients] agree to comply with federally imposed conditions.”

Cummings v. Premier Rehab Keller, PLLC, 596 U.S. 212, 219 (2022) (internal quotes and
citation omitted). A party cannot be coerced by such an offer because there is no “right

(or requirement)” to conduct business with the government in the first instance.

Chamber, 2023 WL 6378423, at *11; see, e.g., Shah v. Azar, 920 F.3d 987, 998 (5th Cir.
2019) (“[P]articipation in the federal Medicare reimbursement program is not a property

interest.”). “[N]o one has a ‘right’ to sell to the government that which the government

does not wish to buy.” Coyne-Delany Co. v. Cap. Dev. Bd., 616 F.2d 341, 342 (7th Cir.




                                             26
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 35 of 37 PageID #: 1516




1980); see also Perkins v. Lukens Steel Co., 310 U.S. 113, 127 (1940) (government has
authority to “determine those with whom it will deal”).

                                  CONCLUSION

      For these reasons, the Court should dismiss Counts I and II of Plaintiffs’
complaint for lack of subject-matter jurisdiction and enter judgment for Defendants on

Count III.




                                          27
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 36 of 37 PageID #: 1517




Dated: January 5, 2024                 Respectfully submitted,


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                                     28
Case 1:23-cv-00931-CFC Document 61 Filed 01/05/24 Page 37 of 37 PageID #: 1518




                         Font and Word Count Certification
      Undersigned counsel certifies that this filing complies with the type, font, and

word limitations set forth in the Court’s August 31, 2023 Standing Order, ECF No. 11,

and as revised in the Court’s September 19, 2023 Stipulated Order, ECF No. 15. The
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                                         29
